Case 0:17-cv-60426-UU Document 225-8 Entered on FLSD Docket 10/01/2018 Page 1 of 5




                           Exhibit 31
       Case 0:17-cv-60426-UU
2/20/2018                                                Document 225-8
                                                                XBT          EnteredCorporate
                                                                    Holding Relaunches on FLSD     Docket 10/01/2018 Page 2 of 5
                                                                                              Site xbt.com
     Home            Mail    Flickr       Tumblr        News      Sports        Finance     Entertainment     Lifestyle         Answers     Groups         More


                                         Search for news, symbols or companies                      Search                                                        Sign in



    Finance Home            Watchlists       My Portfolio        My Screeners        Markets     Industries      Personal Finance


                                                                                                                                                              US Markets are closed

   S&P 500                                Dow 30                           Nasdaq                             Russell 2000                        Crude Oil
   2,716.26                               24,964.75                        7,234.31                           1,529.99                            61.77
   -15.96 (-0.58%)                        -254.63 (-1.01%)                 -5.16 (-0.07%)                     -13.56 (-0.88%)                     +0.09 (+0.15%)




      Check It                        Low-fi savings method gets high-tech makeover
      Out!                            Have you heard of Yahoo Finance's Tanda? It’s like a ROSCA on your phone




BT Holding                                          FORT LAUDERDALE, FLORIDA--(Marketwired - Mar 10, 2014) - In
                                                    line with the continued growth of the companies of XBT Holding, the
                                                                                                                                      Quote Lookup


elaunches                                           relaunch of the holding website reflects the corporate ascension of
                                                                                                                                     Recently Viewed
orporate Site                                       XBT to the ranks of the worlds' top providers of internet infrastructure.

                                                                                                                                                       Your list is empty.
bt.com                                              The synergies achieved by the companies that comprise XBT Holding
                                                    are shown in the structure and design of the new site, where it
     Marketwired March 9, 2014                      becomes apparent that XBT Holding is so much more than the sum of
                                                                                                                                     What to Read Next
                                                    its parts.

                                                    The explosive growth that followed the founding of Webzilla made the
                                                    company a major bandwidth player on a global scale. IPTransit was
                                                    incorporated in 2009 in order to leverage the economies of scale
                                                    created by this growth, offering bandwidth itself as a product and
                                                    creating a global Multihomed IP- transit network and handling peering
                                                    agreements with the biggest Tier-1 providers (see iptransit.com).
                                                                                                                                     Health care costs are going to sting more
                                                    A survey of Webzilla customers already using CDN services was the Yahoo Finance
                                                    basis of the development and the 2011 launch of Universal CDN, a
                                                    service that avoided the faults and expanded the strengths of CDN
                                                    services available at the time. To this day, through constant testing,
                                                    Universal CDN remains the most competitive an effective way to
                                                    distribute any media globally (see ucdn.com).

                                                    Having focused solely on the higher end of the hosting market until
                                                    then, in 2012, with the launch of Fozzy, the offer of virtual private
                                                    servers and shared hosting was presented to the IT world. In a                   Los Angeles, California: This Brilliant Compa
                                                    market of tall tales "unlimited" plans, Fozzy offered something that             EverQuote Sponsored

                                                    was sorely missing: transparency and honesty about the available
                                                    resources the customer is guaranteed. The bedrock of the hugely
                                                    successful dedicated hosting business of Webzilla became the launch
                                                    pad of the growth of Fozzy, leveraging the top tier hardware, the
                                                    security of Webzilla and the low latency high speed connections of
                                                    IPTransit, to offer a service of the highest quality, in prices that are
                                                    competitive even in emerging markets such as India. A special
                                                    offering of VPS for Forex is the industry leader, as well as Linux and
                                                                                                                                     Clarence Thomas, in Dissent, Asserts Gun
                                                    Windows VPS (see fozzy.com).                                                     Rights Aren't 'Favored' at High Court
                                                                                                                                     ALM Media



                                                                                                                                                       P-F000266
https://finance.yahoo.com/news/xbt-holding-relaunches-corporate-xbt-050522625.html                                                                                                    1/4
       Case 0:17-cv-60426-UU
2/20/2018                                    Document 225-8
                                                    XBT          EnteredCorporate
                                                        Holding Relaunches on FLSD     Docket 10/01/2018 Page 3 of 5
                                                                                  Site xbt.com

                                         What follows is an extremely fertile period of strategic acquisitions.
                                         Root SA, the most advanced hosting provider of Luxembourg came
                                         under the fold of XBT in 2012. Strategically located in the geographic
                                         center of Europe, Root offers the ideal hosting and co-location
                                         solution to financial institutions conducting high frequency arbitrage
                                         transactions, as well as being able to provide equal low latency to
                                         game companies and many corporate customers (see server.lu).                General Electric Could Be the Next Boeing
                                                                                                                     Motley Fool
                                         It was the constant request of these corporate customers to be
                                         referred to an app developer by XBT that led to the selection of IBEE
                                         Solutions as the final acquisition of 2012. An agile outfit with offices in
                                         Dallas, TX, and Hyderabad, India, IBEE has grown its portfolio to
                                         more than 2500 satisfied enterprise customers, developing web and
                                         mobile apps that stand out for their sophistication and aesthetics.

                                         The addition of the domain servers.com in 2013 and its incorporation
                                         into the offerings of Root with the concurrent expansion of Root as a This Olympic Halfpipe Skier Didn't Do a Sing
                                         global player brings us to the current moment of the relaunch of the Trick. Here's How She Made It to the Games
                                         website of XBT Holding, which is only a snapshot of the momentum Time
                                         of carefully managed growth.

                                         The seven companies that operate under the umbrella of XBT
                                         Holding have come to be leaders in respect to competitiveness,
                                         offering the best price performance ratio in their fields.

                                         By bringing this positioning to emerging markets, providing the same
                                         quality of service, reliability, and state-of-the-art infrastructure that
                                         was developed for the more mature US and European markets with How Cruise Ships Fill Their Unsold Cabins
                                         the highly competitive price/performance ratio, almost exponential          Zagline Sponsored

                                         growth was the natural outcome.

                                         Combine the mentioned above with the benefits to the customers that
                                         the synergies of the companies of XBT Holding can achieve for them,
                                         not to mention the ease and simplicity of dealing with just one invoice
                                         for all IT infrastructure, and application development, and the basis of
                                         success becomes apparent.

                                         The numbers, as can be seen on the new site, speak for themselves:AT&T loses bid for White House
                                         16000 servers, across 5 datacenters in 3 continents, serve 4600             communications about Time Warner deal
                                                                                                                     Yahoo Finance Video
                                         customers in 7 languages on a 1500Gbps private multihomed
                                         network with multiple connections to the biggest Tier-1 providers.


                                            Story Continues




                                                                                                                                         P-F000267
https://finance.yahoo.com/news/xbt-holding-relaunches-corporate-xbt-050522625.html                                                                               2/4
       Case 0:17-cv-60426-UU
2/20/2018                                   Document 225-8
                                                   XBT          EnteredCorporate
                                                       Holding Relaunches on FLSD     Docket 10/01/2018 Page 4 of 5
                                                                                 Site xbt.com


                                           Retirement Income Calculator                               *

                                           Annual Income *

                                            $ 55,686
                                                                        We recommend saving $589,713 at r
                                                                        This will cover $74,241 per year in re
                                           Current Savings *
                                                                        income.
                                            $ 25,000
                                                                                                SMARTASSET.COM




                                             Start the conversation

                                           Sign in to post a message.




                                                                                                                 P-F000268
https://finance.yahoo.com/news/xbt-holding-relaunches-corporate-xbt-050522625.html                                           3/4
       Case 0:17-cv-60426-UU
2/20/2018                                   Document 225-8
                                                   XBT          EnteredCorporate
                                                       Holding Relaunches on FLSD     Docket 10/01/2018 Page 5 of 5
                                                                                 Site xbt.com




                                                                                                    P-F000269
https://finance.yahoo.com/news/xbt-holding-relaunches-corporate-xbt-050522625.html                                    4/4
